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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              MOTION SCHEDULING ORDER

                -vs-
                                                              05-CR-6161L
CHARLES SCHWAB, et al.,

                       Defendants.




         On March 21, 2007, the defendant John Nicolo filed a motion transferring venue of this action

(Dkt. #74) . All responding papers relevant to this motion must be filed with the Court by April 20,

2007. When all papers have been submitted, the Court will review them to determine if argument is

necessary and if so, the parties will receive notice of the argument date.

         IT IS SO ORDERED.




                                              DAVID G. LARIMER
                                              UNITED STATES DISTRICT JUDGE


Dated:          Rochester, New York
                March 23, 2007.
